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The relief described hereinbelow is SO ORDERED.

Signed August 25, 2008.



                                        __________________________________
                                                     Ronald B. King
                                          United States Chief Bankruptcy Judge
                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

IN RE:                              }
                                    }   NO. 07-50978K
Baylis E. Harriss, Jr.              }
                                    }
   (DEBTORS)                        }   CHAPTER 7

                               AMENDED
     ORDER GRANTING TRUSTEE'S MOTION TO PAY INTERIM DIVIDEND TO
      CREDITORS AND INTERIM TRUSTEE COMPENSATION AND EXPENSES

      Came on for hearing the Trustee's Motion to Pay Interim Dividend

to Creditors and for Interim Trustee Compensation and Expenses. Upon

consideration of the arguments of counsel, the Chapter 7 Trustee, and

the U. S. Trustee, the Court finds that an interim distribution should

be allowed. Therefore it is


      ORDERED that the Trustee's Motion to Pay Interim Dividend to

Creditors and for Interim Trustee Compensation and Expenses in the

amount of $246,443.31 is GRANTED in part. All claims will be paid as

outlined in the Motion, except the following claims shall receive no

distribution: Claim No. 1 County of Guadalupe, Claim No. 4 Valley

Collections, Claim No. 6 eCast Settlement Corp., Claim No. 8 LVNV

I/Home/Peggy/Harriss Interim Report Order
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Funding LLC, and Claim No. 10 Pruskis Fertilizer shall receive a

distribution of $2,000.00 only.



                                     ###




I/Home/Peggy/Harriss Interim Report Order
